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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            OCALA DIVISION

 FREDDY LORENZO ADAMS,

 Plaintiff,

 v.                                          CASE NO.:

 LIFE CARE CENTERS OF
 AMERICA, INC. d/b/a LIFE CARE
 CENTER OF OCALA

 Defendant.
 ________________________________/


      DEFENDANT’S NOTICE OF AND PETITION FOR REMOVAL

      Defendant, LIFE CARE CENTERS OF AMERICA, INC. (“Defendant”), by

and through its undersigned attorneys, and in accordance with the applicable Federal

Rules of Civil Procedure, Rule 1.06 of the Local Rules of the United States District

Court for the Middle District of Florida, and Title 28 of the United States Code §§

1332, 1441 and 1446, hereby files this Notice of and Petition for Removal.

Defendant requests that this Court remove the civil action from the Circuit Court for

the Fifth Judicial Circuit, in and for Marion County, Florida, to the United States

District Court for the Middle District of Florida, Ocala Division. The grounds for

removal of this civil action are set forth below.
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I.    INTRODUCTION

      Plaintiff, Freddy Lorenzo Adams (“Plaintiff”), a former employee, brought

this action on or about January 13, 2024, in the Circuit Court for the Fifth Judicial

Circuit, in and for Marion County, Florida, under the name and style, Freddy

Lorenzo Adams v. Life Care Centers of America, Inc. d/b/a Life Care Center of

Ocala (the “Circuit Court Case”). Defendant was served with the Complaint on

January 23, 2024. Copies of all process, pleadings, and other papers on file in the

Circuit Court Case are attached hereto as Composite Exhibit “A” as required by 28

U.S.C. § 1446(a) and Local Rule 1.06 of the United States District Court for the

Middle District of Florida. In the Complaint, Plaintiff alleged violations of the

Florida Civil Rights Act, Chapter 760, Florida Statutes (“FCRA”). See Comp. Ex.

“A,” Compl. at ¶ 6.

      The United States District Court for the Middle District of Florida, Ocala

Division, encompasses the judicial district in which Plaintiff filed the Complaint.

Accordingly, removal to this Court is proper pursuant to 28 U.S.C. § 1446(a) and

Local Rule 1.06 of the United States District Court for the Middle District of Florida.

This Notice of and Petition for Removal has been timely filed within 30 days of the

date of service of the Complaint. 28 U.S.C. § 1446(b)(1).




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      Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly provide written

notice of the removal to Plaintiff and will file a copy of this Notice of and Petition

for Removal in the Fifth Judicial Circuit, in and for Marion County, Florida.

      As set forth herein, the Circuit Court Case is within the original jurisdiction

of the United States District Court pursuant to 28 U.S.C. § 1332(a) because diversity

exists among the parties and the amount in controversy exceeds $75,000.

II.   REMOVAL IS PROPER BASED ON DIVERSITY JURISDICTION

      A.     Standard for Removal Based on Diversity Jurisdiction

      Pursuant to 28 U.S.C. § 1332(a), “[t]he district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and is between citizens of different

States.” 28 U.S.C. § 1332(a)(1). Where the basis for federal jurisdiction is diversity

under 28 U.S.C. § 1332, the defendant has the burden of demonstrating: (1) complete

diversity of citizenship; and (2) an amount in controversy greater than $75,000 by a

preponderance of the evidence. McAndrew v. Nolen, NO. 3:08-CV-294/MCR/MD,

2009 U.S. Dist. LEXIS 11083, at *6 (N.D. Fla. Feb. 4, 2009).

      B.     Complete Diversity of Citizenship Exists Between the Parties

      Plaintiff is a resident of the State of Florida. See Comp. Ex. “A,” Compl. at

the paragraph preceding Paragraph 1. See also Declaration of Virginia Jones,

attached as “Exhibit B.”


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        Defendant is organized under the laws of Tennessee and has its principal place

of business in Cleveland, Tennessee. See Declaration of Joseph Jicha,¶ 3, attached

as “Exhibit C.”

        Defendant is therefore and has been at all times relevant to this lawsuit, a

citizen of the state of Tennessee. See Wylie v. Red Bull N. Am., Inc., 627 F. App'x

755, 755 (11th Cir. 2015) (“For diversity jurisdiction purposes, a corporation is a

citizen of every State by which it has been incorporated and of the State where it

has its principal place of business”); see also 28 U.S.C.S. § 1332(c)(1)).

        Since Defendant is not a citizen of the State of Florida, like Plaintiff,

Defendant has satisfied its burden of showing there is complete diversity among the

parties. See Grant v. Pottinger-Gibson, No. 0:15-cv-61150-KMM, 2017 U.S. Dist.

LEXIS 111695, *7 (S.D. Fla. July 17, 2017) (a minimal showing of domicile and

citizenship supports a finding that diversity exists, and removal is proper).

        C.     The Amount in Controversy Exceeds $75,0001

        The damages claimed by Plaintiff indicate that the amount in controversy

requirement is met. Plaintiff alleges the following categories of damages: (1) lost


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 Defendant does not concede that Plaintiff will prevail in this civil action or recover the amounts
in controversy discussed in this Notice of and Petition for Removal or any amount. Indeed, any
inquiry into whether Plaintiff may actually recover the jurisdictional amount in controversy is
unnecessary and inappropriate for purposes of removal. “For the purposes of establishing
jurisdiction, it is enough to show that he could.” McDaniel v. Fifth Third Bank, 568 F. App’x 729,
732 (11th Cir. 2014).
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wages and benefits, past and future; (2) compensatory damages, including damages

for emotional distress and mental anguish; and (3) attorneys’ fees and costs. See

Comp. Ex. “A,” Compl. at ¶¶ 47 and 59, and WHEREFORE clauses following ¶¶

47 and 59.

        “Where the plaintiff has not [pled] a specific amount of damages . . . the

defendant is required to show by a preponderance of the evidence that the amount in

controversy can more likely than not be satisfied.” Kirkland v. Midland Mtg. Co.,

243 F.3d 1277, 1281 n.5 (11th Cir. 2001).2 While courts may not speculate or guess

as to the amount in controversy, “Eleventh Circuit precedent permits district courts

to make ‘reasonable deductions, reasonable inferences, or other reasonable

extrapolations from the pleadings to determine whether it is facially apparent that a

case is removable.” Cowan v. Genesco, Inc., No. 3:14-cv-261-J-34JRK, 2014 U.S.

Dist. LEXIS 95412, *6 (M.D. Fla. July 14, 2014) (quoting Pretka v. Kolter City

Plaza II, Inc., 608 F.3d 744, 752 (11th Cir. 2010)). A court need not “suspend reality

or shelve common sense in determining whether the face of a complaint, or other

document, establishes the jurisdictional amount.” Pretka, 608 F.3d at 770 (internal

quotations and citations omitted). “[I]f a removing defendant makes specific factual

allegations establishing jurisdiction and can support them . . . with evidence


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  Plaintiff asserts in his Complaint that “[t]his is an action for damages which exceeds fifty
thousand dollars ($50,000.00).” See Comp. Ex. A, at ¶ 5. Regardless, the amount in controversy
exceeds $75,000.
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combined with reasonable deductions, reasonable inferences, or other reasonable

extrapolations[,] that kind of reasoning is not akin to conjecture, speculation, or star

gazing.” Id. at 754. The defendant “need only prove the jurisdictional facts necessary

to establish that . . . damages in an amount necessary to reach the jurisdictional

minimum are at issue – that is, that such damages could be awarded.” McDaniel v.

Fifth Third Bank, 568 F. App’x 729, 731 (11th Cir. 2014).

            i.   Back Pay and Front Pay

      In the event Plaintiff prevails on his claims under the FCRA, he would be

presumptively entitled to recover damages for back pay. § 760.11(5), Fla. Stat. “[I]n

determining the amount in controversy, the Court should calculate back pay from

the date of termination until, at a minimum, the proposed trial date.” Jiles v. UPS,

No. 3:07-cv-1115-J-25MCR, 2008 U.S. Dist. LEXIS 128041, at *6 (M.D. Fla. Jan.

10, 2008); Brown v. Cunningham Lindsey U.S., Inc., No. 3:05-cv-141-J-32HTS,

2005 U.S. Dist. LEXIS 38862, at *9 (M.D. Fla. May 11, 2005). A trial date of

approximately twelve months from the date of the removal is customary. Id. at *11;

see also Deel v. Metromedia Rest. Servs., No. 3:05-cv-120-MCR, 2006 U.S. Dist.

LEXIS 10174, *15, n.8 (N.D. Fla. Feb. 27, 2006).

      Plaintiff’s employment was terminated on or about February 28, 2023. See

Comp. Ex. “A,” Compl. at ¶ 32. At the time of his termination of employment,

Plaintiff earned $17 per hour, which would equate to approximately $680.00 per


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week on average for 40 hours of work per week. See Jicha Decl. ¶ 3. Plaintiff’s

potential back pay can be determined by calculating his lost wages from the date he

was terminated through the date of trial. At the time of removal, Plaintiff could be

eligible for approximately $34,680 in back pay. Further, when conservatively

applied to an estimated trial date of February 23, 2025 (12 months from removal),

Plaintiff could be entitled to approximately 104 weeks of back pay damages, or

approximately $70,720

      Courts have previously held that it is reasonable to add one year of front pay

to the amount in controversy in a discrimination case. See Gonzalez v. Honeywell

Int’l, Inc., No. 8:16-cv-3359-T-30TGW, 2017 U.S. Dist. LEXIS 5837, *6 (M.D. Fla.

Jan. 17, 2017) (citing cases). While Defendant maintains that Plaintiff should not

receive any relief in this case, one year of front pay damages would conservatively

amount to $35,360. The combined amount of back pay and front pay damages that

Plaintiff has placed in controversy in this case totals approximately $70,720– $106-

760. Accordingly, the amount in controversy requirement is likely satisfied

considering alleged wage loss damages alone.

       ii.   Compensatory Damages

      Plaintiff additionally seeks compensatory damages, including damages for

“pain and suffering, mental anguish, loss of dignity loss of capacity for the




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enjoyment of life, and irreparable damages to his family and relationships.” See

Comp. Ex. “A,” Compl. at ¶¶ 3, 47, 59.

      Under the FCRA, a prevailing plaintiff may be awarded compensatory

damages, including damages for mental anguish, loss of dignity, and any other

intangible injuries. § 760.11(5), Fla. Stat. The FCRA does not cap compensatory

damages. Id. When calculating the amount in controversy for compensatory

damages, including those based on emotional distress, it is not necessary for courts

to “pinpoint the exact dollar figure of each of these forms of relief to recognize that

their value adds thousands of dollars to the amount in controversy.” Gonzalez v.

Honeywell Int’l, Inc., No. 8:16-cv-3359-T-30TGW, 2017 U.S. Dist. LEXIS 5837,

*7 (M.D. Fla. Jan. 17, 2017). However, it is appropriate to consider compensatory

damage awards, including those based on emotional distress, in prior similar cases.

See, e.g., Schmidt v. Pantry, Inc., No. 1:11-cv-228-SPM-GRJ, 2012 U.S. Dist.

LEXIS 53530, *10 (N.D. Fla. Mar. 5, 2012), adopted by 2012 U.S. Dist. LEXIS

53529 (N.D. Fla. Apr. 17, 2012). Juries have awarded compensatory damages in

similar employment discrimination cases at or greater than the jurisdictional

threshold. See Reilly v. Duval County, No. 3:04-cv-1320-J-32MCR, 2007 U.S. Dist.

LEXIS 52926 (M.D. Fla. July 23, 2007) (jury awarded $75,000 for mental distress

damages under the FCRA); Copley v. BAX Global, Inc., 97 F. Supp. 2d 1164 (S.D.

Fla. 2000) ($100,000 in emotional distress damages awarded).


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      Based on the foregoing, in the instant case, it is reasonable for this Court to

consider a conservative estimate of approximately $30,000 in compensatory

damages for the purpose of determining the amount in controversy.

       iii.   Attorneys’ Fees

      Plaintiff also seeks recovery of attorneys’ fees. See Comp. Ex. “A”, Compl.,

WHEREFORE clauses following ¶¶ 47 and 59. An award of attorney’s fees is

permitted to the prevailing party under the FCRA. § 760.11(5), Fla. Stat. “When a

statute authorizes the recovery of attorney’s fees, a reasonable amount of those fees

is included in the amount in controversy.” Morrison v. Allstate Indem. Co., 228 F.3d

1255, 1265 (11th Cir. 2000); see also Cohen v. Office Depot, Inc., 204 F.3d 1069,

1079 (11th Cir. 2000). An estimate of legal fees through trial is appropriate. See,

e.g., Mirras v. Time Ins. Co., 578 F. Supp. 2d 1351, 1352-1353 (M.D. Fla. 2008).

      Defendant conservatively estimates that Plaintiff’s counsel could be expected

to expend at least 125 hours litigating this action through trial, which would include

depositions of witnesses, drafting and answering discovery, dispositive motion

practice, and preparing for and attending a multiple day trial. Even at a conservative

hourly rate of $250, Plaintiff would incur at least $31,250 in attorneys’ fees.

      This estimate is consistent with how district courts in the Eleventh Circuit

have defined “reasonableness” in terms of hours spent litigating similar cases and

the range of hourly rates in cases involving employment disputes. See, e.g., St. Fleur


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v. City of Ft. Lauderdale, 149 F. App’x 849, 854 (11th Cir. 2005) (affirming

reduction of attorneys’ fee award by only thirty percent when plaintiff’s attorneys

claimed they billed 1,500 hours litigating Title VII claims through trial); Holland v.

Gee, 2012 U.S. Dist. LEXIS 164956, *16-17 (M.D. Fla. Oct. 23, 2012) (finding that

260.8 hours billed by lead attorney at $200 per hour and 190.8 hours billed by

associate attorney at $150 per hour through trial was reasonable in FCRA case).

Accordingly, the attorney’s fees estimate should also be included in the

determination of the amount in controversy.

       iv.   Total Amount in Controversy

      While Defendant disputes the allegations set forth in the Complaint, including

Plaintiff’s claims for damages, the amount in controversy clearly exceeds the

$75,000 jurisdictional threshold for diversity jurisdiction.

      WHEREFORE, Defendant requests that this Court accept the removal of this

action from the Circuit Court of the Fifth Judicial Circuit and further direct that the

Circuit Court have no further jurisdiction over this action.




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      Dated February 22, 2024.

                                    Respectfully submitted,

                                    By: /s/ B. Tyler White
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                                    Counsel for Defendant

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 22nd day of February, 2024, the foregoing
was electronically filed with the Clerk of the Court by using the CM/ECF system,
which will send a notice of electronic filing to:

                             Jason W. Imler, Esq.
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                                           /s/ B. Tyler White
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